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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION

BRUCE E. FREDRICS and      )
PROFESSIONAL ADJUSTING     )
& CONSULTING SERVICE, LLC, )
         Plaintiffs,       )                 CIVIL ACTION FILE NO.:
    -vs-                   )                  2:20-cv-00226-SCJ
                           )
MEREDITH CORPORATION,      )
LYLE BANKS, and JOHN DOES, )
         Defendants.       )

          NOTICE OF DISMISSAL WITHOUT PREJUDICE

      Come Now Plaintiffs and file their Dismissal WITHOUT Prejudice and

show this Court as follows:

1.    Defendants Meredith Corporation and Lyle Banks, Vice President & General

Manager of WGCL & WPCH Television Stations in Atlanta, have been served and

have not filed any Answers or responsive pleadings at this time.

      This 21st day of December 2020.

                                      /s/ Ralph J. Villani
                                      Ralph J. Villani, Esq.
                                      GA Bar No.: 727700

                       CERTIFICATE OF SERVICE

      This is to certify that I, this day, served Defendants with a true and correct
copy of Plaintiffs’ Notice of Dismissal Without Prejudice by depositing same in the
U.S. Mail, prepaid, and addressed to them at their final service addresses to ensure

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deliver to:
                   Meredith Corporation
                   c/o Registered Agent
                   CT Corporation System
                   289 S Culver Street
                   Lawrenceville, Georgia 30046

                   Lyle Banks, VP
                   c/o Meredith Corporation
                   Headquarters
                   1716 Locust Street
                   Des Moines, Iowa 50309


                       RULE 7 .1(D) CERTIFICATE

       The undersigned counsel certifies that this document has been prepared with
one of the fonts and point selections approved by the Court in Local Rule 5.l-C, to
wit: Times New Roman, 14 point.

      This 21st day of December, 2020.


                                       /s/ Ralph J. Villani
                                      Ralph J. Villani, Esq.
                                      GA Bar No.: 727700

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